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                                                     IN THE UNITED STATES DISTRICT COURT
                                                      FOR THE SOUTHERN DISTRICT OF OHIO
                                                               WESTERN DIVISION



                                   UNITED STATES OF AMERICA,
                                                                                      Case No.: 1-20-cr-142
                                                  Plaintiff,
                                                                                      Hon. Douglas R. Cole
                                                         v.
                                                                                      DEFENDANT’S THIRD
                                   ALEXANDER SITTENFELD,                              MOTION TO EXTEND
                                     a/k/a “P.G. Sittenfeld,”                         TIME TO FILE POST-TRIAL
                                                                                      MOTIONS
                                                  Defendant.



                                        Defendant Alexander “P.G.” Sittenfeld moves this Court pursuant to Federal
                                 Rule of Criminal Procedure 45(b) for additional time to file post-trial motions
                                 including, but not limited to, those under Federal Rules of Criminal Procedure 29 and
                                 33. A memorandum in support follows.


                                                                              /s/ Charles M. Rittgers
                                                                              Charles M. Rittgers
                                                                              Charles H. Rittgers
                                                                              Neal D. Schuett
                                                                              Gus J. Lazares
                                                                              Rittgers & Rittgers
                                                                              12 East Warren Street
                                                                              Lebanon, OH 45036
                                                                              (513) 932-2115

                                                                              charlie@rittgers.com

                                                                              Counsel for the Defendant
                                 Date: August 15, 2022




RITTGERS & RITTGERS
      Attorneys at Law
12 East Warren Street Lebanon,
         Ohio 45036
      TEL (513) 932-2115
     FAX (513) 934-2201
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                                    Memorandum in Support

       “When an act must or may be done within a specified period, the court on its own may

extend the time, or for good cause may do so on a party's motion made.” Fed. R. Crim. P. 45(b).

       Mr. Sittenfeld third extension of time is based on the following reasons: (1) lack of

complete trial transcripts that are necessary to properly prepare his post-trial motions; and (2) in

response to this Court’s denial to allow Mr. Sittenfeld’s expert to conduct a forensic exam of Juror

X’s mobile phone, Mr. Sittenfeld has filed a Mandamus for Leave to Conduct Forensic Exam in

the Sixth Circuit Court or Appeals, and Mr. Sittenfeld cannot properly prepare his post-trial

motions without a resolution on the juror misconduct issues before this Court. Moreover, while

Mr. Sittenfeld has portions of the trial transcript, based on conversations with the court reporter, a

complete trial transcript cannot be completed for at least 30 additional days after the court reporter

returns from vacation. Mr. Sittenfeld’s request is not intended to cause an unnecessary delay in

proceedings.

       As a result, Mr. Sittenfeld respectfully requests that this Court extend the deadline to file

post-trial motions an additional 5 weeks, until September 23, 2022, to allow the court reporter to

complete the trial transcript, counsel for Mr. Sittenfeld to review and include citations to the trial

transcript, and to receive a ruling from the Sixth Circuit on Mr. Sittenfeld’s Mandamus filing.

       Alternatively, Mr. Sittenfeld requests that the Court impose a new deadline for post-trial

motions of one week after the court reporter completes her transcriptions in this matter, or a status

conference with the Court to discuss modifications to the deadlines and briefing schedule for post-

trial motions.




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                                                              Respectfully submitted,

                                                              RITTGERS & RITTGERS


                                                              s/ Charles M. Rittgers
                                                              Charles H. Rittgers
                                                              Charles M. Rittgers
                                                              Neal D. Schuett
                                                              Gus J. Lazares
                                                              Rittgers & Rittgers
                                                              12 East Warren Street
                                                              Lebanon, OH 45036
                                                              (513) 932-2115
                                                              charlie@rittgers.com

                                                              Counsel for the Defendant



                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing was filed with the Court’s CM/ECF System provided to
on this 15thth day of August, 2022, which provides electronic notice to all parties. I further certify
that the foregoing was emailed to the Court in Word format pursuant to the Court’s Standing Order,
subsection N.

                                                              /s/ Charles M. Rittgers
                                                              Charles M. Rittgers
                                                              Counsel for the Defendant




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